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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
       v.                                     §      Case No. 4:22-cr-612
                                              §
CONSTANTINESCU, et al.                        §      The Honorable Andrew S. Hanen
                                              §
       Defendants.                            §

 United States’ Response in Opposition to Defendant Constantinescu’s Motion for a Bill of
                        Particulars and Grand Jury Transcripts

       The United States, by and through undersigned counsel, respectfully submits this Response

in Opposition to Defendant Constantinescu’s Motion for a Bill of Particulars and Grand Jury

Transcripts (Doc. No. 219). The Court should deny the motion because the Superseding

Indictment, coupled with the United States’ substantial discovery and disclosures, provide

adequate notice of the nature of the charges against the Defendant. The Motion is a thinly veiled

attempt to get the United States to preview its trial evidence and theory of the case. A bill of

particulars and release of the Grand Jury transcripts are inappropriate here.

   I. Background
       A. Procedural History
       A Grand Jury in this District returned the original Indictment on December 7, 2022,

charging the Defendant and seven alleged coconspirators with conspiracy to commit securities

fraud, substantive counts of securities fraud, and a money laundering count. (Doc. No. 1.) A Grand

Jury in this District returned a Superseding Indictment on February 8, 2023, which realleges all

charges in the original Indictment and adds nine substantive counts of securities fraud. (See Doc.

No. 134 ¶ 121.) The Superseding Indictment charges Defendant Constantinescu with conspiracy
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to commit securities fraud, five substantive counts of securities fraud, and a money laundering

count. (See id. ¶¶ 117, 121–126.)

       The United States has articulated at length on multiple occasions the contents of the

Superseding Indictment as relevant to the Defendant’s Motion and incorporates those descriptions

by reference here. (See, e.g., Doc. Nos. 174 at 1–3; 206 at 1–4.) In the context of this Motion,

however, it is worth reemphasizing the general description of the Defendants’ scheme contained

in paragraph 1 of the Superseding Indictment, which states that the Defendants:

               engaged in a scheme to “pump and dump” securities based on
               false and misleading information and material omissions about
               those securities that the defendants published on social media
               platforms, including Twitter, Inc. and Discord, Inc. To carry out
               the scheme, the defendants (1) purchase shares of a security in their
               trading accounts; (2) posted messages on social media platforms
               with false, positive information about the security—including as to,
               among other things, the defendants’ position in the security,
               how long the defendants intended to hold the security, the
               defendants’ view that the security would increase in price, and
               the price the security could reach—to induce other investors to
               buy the security and artificially drive up its price, and (3) secretly
               sold their own shares of the security at a higher price to secure
               a profit for themselves, at or around the time they posted
               messages to induce other investors to purchase the same security
               and concealed their intent to sell.
(Doc. No. 134 ¶ 1 (emphasis added).) Notably, the bolded sections in the passage above provide

general explanation of the types of false statements at issue in this case and general description of

why and how many statements were false or misleading. (See id.) And the remainder of the

Superseding Indictment supplies copious instances of particular examples of false and misleading

statements falling under those general descriptions, including many statements by Defendant

Constantinescu. (See, e.g., id. ¶¶ 98–99, 106–107, 112–114.)

       Further, to remove any doubt about the notice provided to Defendants concerning the

contours of the charged conduct, paragraph 13 specifically details even more examples of the false

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and misleading statements at the core of this case. Those statements, as laid out in the Superseding

Indictment, include:

                a. Messages representing that a defendant intended to hold the
                   security, including for a “swing” or a longer-term trade, as
                   opposed to a short-term trade or day trade;

                b. Messages representing that a defendant “joined” another
                   defendant in purchasing the security or was “adding” to a
                   position in the security;

                c. Messages concerning a purported price target for the security
                   that was significantly higher than the price at which the security
                   was currently trading, and that was higher than the defendants
                   actually valued the security; and

                d. Messages concerning “due diligence” about the security and
                   purported catalysts that would increase the security’s price over
                   time.

(Id. ¶ 13.) Thus, the general descriptions in paragraphs 1 and 13, along with the copious specifics

supplied throughout the Superseding Indictment, provide the Defendants fair notice about the types

of false and misleading statements that comprise the core of their alleged criminal conduct.

        Further, as the United States has also recently apprised the Court, the United States timely

made significant discovery productions so that this case may move expeditiously towards the

October trial date. 1 Critically, here, the Defendant has had all his relevant trading and social media

records for several months.

        In addition to all this material, on March 31, 2023, the United States disclosed to all

Defendants a letter with an attachment, included here as Exhibit 2, that contains information

regarding the profit allegations in paragraph 1 of the Superseding Indictment. 2 As the Court can


        1 The United States incorporates by reference its prior description of those productions. (See, e.g.,

Doc. No. 206 at 4.)
        2 Exhibit 1 is the transmittal email to counsel to which the documents in Exhibit 2 were attached.

The balance of the email chain in Exhibit 1 is redacted as irrelevant, among other reasons. Note that the
United States produced to counsel the chart in Exhibit 2 as a sortable Microsoft Excel spreadsheet.

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see, Exhibit 2 contains much significant information, including: (i) the stock tickers at issue,

(ii) the specific time periods in which Defendants were trading in and/or posting about those

stocks, and (iii) the particular Defendants who closed a position in each particular stock within

each precise time period. 3 (See Ex. 2 at 2.) As the Court also can see, the letter indicates that the

United States will disclose, in connection with its expert disclosures on June 5, 2023, the

approximate profit and loss figures for each Defendant as to each of those stocks in each of those

specified time periods, and particular false or misleading statements occurring with respect to each

of those stocks in each of the specified time periods. (See id. at 1.)

    II.       Legal Standard 4
          “A defendant possesses no right to a bill of particulars . . . .” United States v. Burgin, 621

F.2d 1352, 1358–59 (5th Cir. 1980). Rather, “the decision on the motion lies within the discretion

of the court,” id., which “is afforded substantial discretion” in making that determination. United

States v. Davis, 582 F.2d 947, 951 (5th Cir. 1978).

          Defendants may not use a bill of particulars as an investigative tool; a bill “is not designed

to compel the government to detailed exposition of its evidence or to explain the legal theories

upon which it intends to rely at trial.” Burgin, 621 F.2d at 1359; see also United States v. Kilrain,

566 F.2d 979, 985 (5th Cir. 1978) (“A defendant should not use the bill of particulars to obtain a

detailed disclosure of the government’s evidence prior to trial.”) (internal quotations and citation

omitted)); Davis, 582 F.2d at 951 (“[I]t is well established that generalized discovery is not a



          3 Although the United States views these materials as more germane to the production of expert

reports, which in this case are not due until June 5, 2023, the United States provided this information
voluntarily at this early date in order to keep firm the October 23, 2023 trial date. The United States reserves
the right to make any necessary edits to this information at the time of furnishing its expert reports.
          4 The United States incorporates by reference its more comprehensive exposition of the applicable

legal standard set forth in its Response to Defendant Rybarczyk’s Motion for a Bill of Particulars. (See Doc.
No. 206 at 5–7.)

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permissible goal of a bill of particulars.”). Defendants “‘are not entitled to discover all the overt

acts that might be proved at trial’ through a bill of particulars.” United States v. Djuga, No. 14-cr-

140, 2015 WL 1412100, at *2 (E.D. La. Mar. 25, 2015) (quoting Kilrain, 566 F.2d at 985). Instead,

the Court “must balance the needs of the defendant against the government’s right not to disclose

its witnesses, evidence or legal theories.” United States v. Miller, 210 F. Supp. 716, 717 (S.D. Tex.

1962). Ultimately, the question is not whether the information sought would be helpful to the

defendant, but rather whether it would be necessary to prepare a defense. See United States v.

Barrentine, 591 F.2d 1069, 1077 (5th Cir. 1979).

      III.      The Court should deny the Defendant’s motion because a bill of particulars is
                unwarranted, particularly in light of the Superseding Indictment, discovery, and
                the United States’ disclosures.
             The Defendant seeks a bill of particulars to gain premature insight into the United States’

trial strategy and legal theories, which is neither appropriate for nor available through a bill of

particulars. See, e.g., United States v. Hajecate, 683 F.2d 894, 898 (5th Cir. 1982) (“[A] bill of

particulars cannot be required to compel revelation on the full theory of the case or all the

evidentiary facts.” (internal citation omitted)). The Defendant’s request for the United States to

explain why each and every false or misleading statement posted by the Defendant during the

course of the multi-year conspiracy was, in fact, false or misleading would require the United

States to disclose its trial strategy and legal theories, and the Court should not permit it. See, e.g.,

id.

             The 44-page Superseding Indictment leaves no doubt as to the nature of the charges against

the Defendants and the nature of the false or misleading statements at issue. The Superseding

Indictment sets out in detail, among other things, the specific categories of statements that are

alleged to be false and misleading. (See Doc. No. 134 ¶¶ 1, 13.) The Superseding Indictment further

provides many examples of particular false or misleading statements, along with the Defendants’

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trading activity that demonstrates that they in fact did not believe what they said publicly or were

not trading as they represented publicly. (See, e.g., id. ¶¶ 21–115.)

       Further, as noted, Defendants have already had in their possession for almost three months

the two pillars of the United States’ evidence in this case: their social-media activity and trading

records. This material was organized into folders based on the source or type of documents and

produced in electronic form. Thus, the Defendant can readily access and review documents, and

organize trading and social-media records adequately to answer his own questions and prepare his

own defense.

       Further still, the discovery was supplemented by the United States disclosure set forth in

Exhibits 1 and 2. And this abundance of information will be further supplemented by the United

States’ expert disclosures and, at an appropriate time prior to trial, trial exhibits. With this wealth

of information in the Superseding Indictment, the discovery, and the United States’ disclosures,

the Court should reject the Defendant’s blatant attempt to use a bill of particulars to have the United

States also explain its trial evidence and strategy. See, e.g., Hajecate, 683 F.2d at 898.

       The Defendant’s February 16, 2023 letter reads precisely as sets of interrogatories

submitted in a civil case, where the defendant’s attorney asks the plaintiff for all of the facts

supporting a specific allegation in the civil complaint. (See Doc. No. 220.) But the letter and the

motion are improper. This is not a civil case. The United States is not required to respond to eleven-

page detailed requests of every conceivable question that a Defendant could resolve by himself

through moderate diligence and review of discovery and disclosures. A bill of particulars may not

be used in a federal criminal case as a fishing expedition. See, e.g., Burgin, 621 F.2d at 1358–59;

see also United States v. Kendall, 665 F.2d 126, 135 (7th Cir. 1981) (affirming the denial of a bill




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of particulars and explaining that “[t]he defendant’s constitutional right is to know the offense with

which he is charged, not to know the details of how it will be proved”).

       The several cases cited by the Defendant, which were largely cited by Defendant

Rybarcyzk and addressed in the United States’ response to that motion, do not change this

conclusion.5 (See Doc. No. 206 at 11–16.) Further, the Defendant’s cherry-picking of cases from

other districts that might support his strained theory omits reference to any of the innumerable

cases that do not. See, e.g., United States v. Davis, No. 14-cr-171S-12, 2014 WL 6679199, at *3

(S.D. Tex. Nov. 25, 2014) (denying, in part, defendant’s request for bill of particulars where

request “seem[ed] to be for a detailed disclosure of the Government’s evidence prior to trial”); see

also United States v. Moyer, 674 F.3d 192, 203 (3rd Cir. 2012) (“Although the government did not

identify every omission or inclusion that rendered false the documents identified in the indictment,

and thus did not, at the pre-trial stage, weave the information at its command into the warp of a

fully integrated trial theory for the benefit of the defendant, the government was not required to do

so.” (internal quotations and citation omitted)); United States v. Fitzgerald, No. 305-cr-00013,

2006 WL 734005, at *1 (W.D. Va. Mar. 21, 2006) (denying defendant’s motion for a bill of

particulars to provide notice of the particular false statements at issue where the full scope of

discovery was made available); United States v. Carey, 152 F. Supp. 2d 415, 431–32 (S.D.N.Y.

2001) (denying the defendant’s motion to identify what the government alleges is false about the

particular false statements at issue where the defendant had access to all the potential statements

in discovery, the time to go through the materials, and did “not cite a single case from this

jurisdiction—and the court is unaware of any—in which the government has been required to

disclose its theory before trial as to why a particular statement is false”); United States v. Cisneros,


       5 The United States incorporates by reference its exposition of those cases in its prior Response.

(See Doc. No. 206 at 11–16.)

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26 F. Supp. 2d 24, 55–56 (D.D.C. 1998) (denying bill of particulars seeking identification of

alleged false statements where the 65-page indictment, with 31 pages of background facts, “[r]ead

as a whole . . . clearly provides enough information to allow [the defendant] to understand the

charges against him and prepare to defend himself against those charges”).

    IV.      The Court should deny the Defendant’s request for the Grand Jury transcripts
             because the Defendant has not demonstrated a particularized need to violate
             Grand Jury secrecy and the basis of the Defendant’s request has been rejected by
             the Supreme Court of the United States multiple times.

          The Defendant’s request for Grand Jury transcripts marks the second time in this case

where a Defendant has sought to violate the long-established bulwark of Grand Jury secrecy

without even mentioning the applicable “particularized need” test, let alone articulating such a

need. See (Doc. Nos. 196 at 15–16; 219 at 8); see also Dennis v. United States, 384 U.S. 855, 868–

69 (1966); Posey v. United States, 416 F.2d 545, 557 (5th Cir. 1969). The Defendant seeks to

obtain the transcripts based solely on reading the face of the Superseding Indictment and

speculating that “deficiencies regarding the alleged ‘false’ statements referenced in the Indictment

raise the question as to whether the Grand Jury was misled or misunderstood . . . .” (Doc. No. 219

at 8.)

          The Supreme Court of the United States made clear long ago that the Defendant’s stated

grounds to attempt to obtain the Grand Jury transcripts are entirely inappropriate. See United States

v. Williams, 504 U.S. 36, 51–54 (1992). As the Supreme Court explained:

                 A complaint about the quality or adequacy of the evidence can
                 always be recast as a complaint that the prosecutor’s presentation
                 was “incomplete” or “misleading.” Our words in Costello bear
                 repeating: Review of facially valid indictments on such grounds
                 “would run counter to the whole history of the grand jury
                 institution, and neither justice nor the concept of a fair trial
                 requires it.”




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Id. at 54–55 (emphasis added) (quoting Costello v. United States, 350 U.S. 359, 364 (1956)); see

also Costello, 350 U.S. at 362–364 (expressly rejecting defendant’s request to establish a rule

“permitting defendants to challenge indictments on the ground that they are not supported by

adequate or competent evidence” and noting that a Justice in 1852 “could say, ‘No case has been

cited, nor have we been able to find any, furnishing an authority for looking into and revising the

judgment of the grand jury upon the evidence, for the purpose of determining whether or not the

finding was founded upon sufficient proof.’” (quoting United States v. Reed, 27 F. Cas. 727, 738

(No. 16,134) (CCNDNY 1852))).

       The Defendant’s motion does not mention the term “particularized need,” articulates only

bases that have been expressly rejected by the Supreme Court, and cites no case that supports his

request. See (Doc. No. 219 at 8); see also Williams, 504 U.S. at 51–54; Costello, 350 U.S. at 364;

As such, the Court should deny the Defendant’s motion. See, e.g., United States v. Miramontez,

995 F.3d 56, 59 (5th Cir. 1993) (noting that movant’s general description of types of errors or

defects that may occur in grand jury proceedings does not constitute a particularized need without

a showing that such errors occurred in the particular case before the court); In re Grand Jury

Testimony, 832 F.2d 60, 63 (5th Cir. 1987) (explaining the need for grand jury testimony “must be

real” before grand jury transcript may be disclosed; “bald assertions of such need are not

sufficient”); United States v. Harbin, 585 F.2d 904, 907 (8th Cir. 1978) (finding court did not err

in refusing to breach grand jury secrecy and allow defendant to inspect minutes where defendant

stated no particularized need but made “only a general plea that inspection might yield a ground

upon which to move to dismiss indictment”); United States v. Basciano, 763 F. Supp. 2d 303, 314–

16 (E.D.N.Y. 2011) (denying defendant’s motion to compel production of grand jury minutes that




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was based entirely on speculation about what may have occurred before the grand jury and, thus,

failed to make a particularized showing of need).

                                            Conclusion
        The Court should deny the Defendant’s Motion because it seeks impermissibly to obtain

the United States’ trial theories and to violate Grand Jury secrecy without showing a particularized

need.

Dated: April 4, 2023                          Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 4, 2023, I will cause the foregoing motion to be electronically

filed with the Clerk of the Court using the CM/ECF. system, which will provide copies to counsel

for all parties.



                                               /s/ John J. Liolos
                                               John J. Liolos, Trial Attorney
                                               U.S. Department of Justice
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